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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEENAN’S KIDS FOUNDATION,                )
INC.,                                    )
                                         )
             Plaintiff,                  ) Civil Action File No.:
                                         )
-vs.-                                    ) 1:20-cv-01702-WMR
                                         )
SEAN CLAGGETT,                           )
                                         )
              Defendant.                 )


               PLAINTIFF’S RESPONSE IN OPPOSITION
            TO DEFENDANT’S MOTION TO DISMISS [DKT 13]



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I.    INTRODUCTION

      Defendant Sean Claggett’s (“Defendant”) Motion to Dismiss [Dkt 13] seeks

the dismissal of plaintiff Keenan’s Kids Foundation, Inc.’s (“Plaintiff”) First

Amended Complaint (“Amended Complaint”) [Dkt 11] for misappropriation of

trade secrets under the federal Defend Trade Secrets Act of 2016 (18 U.S.C. § 1836,

et seq. (“DTSA”) and the Georgia Trade Secrets Act of 1990 (O.C.G.A. § 10-1-760

et seq.) (“GTSA”) pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,

for alleged failure to state a claim upon which relief can be granted. See Dkt 13-1.

Defendant does not, in fact, argue that Plaintiff has not adequately pleaded the

factual underpinnings of these claims under a notice pleading standard; but rather,

that there has been no trade secret misappropriation as a matter of law.

      Defendant inappropriately seeks to have this Court apply a summary

judgment or trial standard at the pleading stage, making numerous arguments

concerning the “sufficiency” of the evidence in Plaintiff’s Amended Complaint.

However, all elements of Plaintiff’s claims, including Plaintiff’s trade secret

ownership and Defendant’s misappropriation, are pleaded with specific factual

allegations in the Amended Complaint that state a plausible claim upon which relief

can be granted under the “short and plain statement of the claim” standard set out in

Rule 8(a) of the Federal Rules of Civil Procedure. Defendant has not met his burden



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at the pleading stage of showing that Plaintiff could prove no set of facts in support

of its claims, which are fact-specific inquiries that require discovery.

II.   LEGAL STANDARD ON A MOTION TO DISMISS

      Defendant acknowledges that on a motion to dismiss under Rule 12(b)(6) of

the Federal Rules of Civil Procedure, the Court must accept the plaintiff’s allegations

as true and consider them in the light most favorable to the plaintiff. Dkt 13-1, p. 9;

Alvarez v. Attorney Gen, for Fla., 679 F.2d 1257, 1261 (11th Cir. 2012). The Court

must also “give the plaintiff[ ] the benefit of reasonable factual inferences.” Wooten

v. Quicken Loans, Inc., 626 F.3d 1187, 1196 (11th Cir. 2010). “To survive a motion

to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556). “The plausibility standard is not

akin to a ‘probability requirement.’” Id.

      Well-pleaded complaints, even those that seem doubtfully true, survive

motions to dismiss. Id.; Twombly, 550 U.S. at 555, 570 (citation omitted); United

Jewish Cmtys., Inc. v. FDIC, Case No. 1:10-CV-3357, 2011 U.S. Dist. LEXIS



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42258, at *4 (N.D. Ga. Apr. 18, 2011) (“A complaint may survive a motion to

dismiss for failure to state a claim, however, even if it is ‘improbable’ that a plaintiff

would be able to prove those facts”) (citation omitted). “Generally, notice pleading

is all that is required for a valid complaint.” Id. at *5. Here, the Amended Complaint

pleaded much more than “enough factual matter” to make Plaintiff’s claims

“plausible on [their] face.” Twombly, 550 U.S. at 556; Iqbal, 556 U.S. at 663.

       Rule 8(a)(2) requires only “a short and plain statement of the claim showing

the pleader is entitled to relief.” Rule 8(d)(1) requires that “Each allegation must be

simple, concise, and direct. No technical form is required.” Defendant, however,

wants this Court to interpret Twombly and Iqbal in a manner requiring a Complaint

to contain sufficient evidence to be subject to the Court’s immediate ruling on the

pleadings in summary judgment. Defendant’s implicit new standard is not the law.

III.   ARGUMENT AND CITATION OF AUTHORITIES

       A claim for trade secret misappropriation under the GTSA requires a plaintiff

to allege “(1) it had a trade secret and (2) the opposing party misappropriated the

trade secret.” Camp Creek Hosp. Inns, Inc. v. Sheraton Franchise Corp., 139 F.3d

1396, 1410 (11th Cir. 1998) (reversing summary judgment in favor of defendant on

plaintiff’s trade secret claim). The DTSA requires the same elements of proof, with

an additional element that the trade secret “is related to a product or service used in,



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or intended for use in, interstate or foreign commerce.” 18 U.S.C. § 1836(b)(1).

Under both statutes, in order for trade secret information to be protectable, a plaintiff

must (1) take reasonable efforts under the circumstances to maintain the secrecy of

their alleged trade secret, and (2) derive economic value from the purported secrecy

of the trade secret. See 18 U.S.C. § 1839(3); O.C.G.A. § 10-1-761.

A.    The Amended Complaint Contains Well-Pleaded Factual Allegations
      That Sufficiently State Defendant’s Trade Secret Misappropriation

      With the order of the claim elements reversed, Defendant first contests

whether Plaintiff has adequately alleged that Defendant misappropriated Plaintiff’s

trade secrets. Dkt. 13-1, pp. 13-21. Although Defendant appears to assert that

Plaintiff failed to plead that Defendant acquired the Trade Secret Voir Dire

techniques “improperly,” Defendant acknowledges that impropriety in acquisition is

not required to state a trade secret misappropriation claim. Id. at pp. 13-14. As

Defendant concedes, all that is required to plead misappropriation under the DTSA

and GTSA is (1) disclosure or use of a trade secret; (2) without express or implied

consent; (3) by a person who “knew or had reason to know” that the trade secret was

acquired “under circumstances giving rise to a duty to maintain its secrecy or limit

its use.” O.C.G.A. § 10-1-761(2); see also 18 U.S.C. § 1839(5).

      Plaintiff has pleaded exactly that and done so more than sufficiently to survive

a motion to dismiss. Atlanta Fiberglass USA, LLC v. KPI, Co., 911 F. Supp. 2d

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1247, 1258-1260 (N.D. Ga. 2012) (denying motion to dismiss plaintiff’s plainly-

pleaded trade secret misappropriation claim alleging “the understanding of both

parties” that the trade secrets at issue were the plaintiff’s property and that the

defendant had a duty to—but failed to—protect their secrecy). As to element (1),

Plaintiff pleaded that Defendant used and disclosed the Trade Secret Voir Dire

Techniques through his teaching of Claggett’s Voir Dire School which embodies,

incorporates, and is substantially derived from Plaintiff’s Trade Secret Voir Dire

Techniques. Dkt. 11, ¶¶ 15, 34, 76, 99-100. As to element (2), Plaintiff pleaded that

Defendant’s use and disclosure of the Trade Secret Voir Dire Techniques was

without Plaintiff’s permission, either express or implied. Id., ¶¶ 78, 101.

      As to element (3), Defendant’s knowledge or reason to know that the Trade

Secret Voir Dire Techniques were acquired under circumstances giving rise to a duty

to maintain secrecy or limit use, Plaintiff pleaded with great particularity that as a

student of Plaintiff’s Keenan’s Kids Voir Dire Course:

      a.     Defendant and every other course attendee were required to sign an

agreement titled “Confidentiality Agreement,” which specifically identifies

information in the course as trade secrets, copyrighted, and proprietary, “including




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ideas, techniques…inventions, know-how, processes…and information” related to

the services and information provided at the course. Dkt. 11, ¶¶ 44-45, 52-53.1

      b.     Defendant and every other course attendee were prohibited from

videotaping, audio recordings, and photographs of any seminar. Id., ¶¶ 46, 53.

      c.     Defendant and every other course attendee were required to leave

behind materials provided by the Keenan Trial Institute when coursework was

completed and could leave only with their notes exclusively for personal use. Id.,

¶¶ 46-47, 55.

      d.     Defendant and other course attendees also would have heard Plaintiff’s

course instructors orally emphasize confidentiality and restrictions on course

material. Id., ¶ 47.

      e.     Defendant and other course attendees had password-only access to

Plaintiff’s LISTSERV and blog content related to the Keenan’s Kids Voir Dire

Course to further protect the confidentiality of, and access to, any portion of the

Trade Secret Voir Dire Techniques. Id., ¶¶ 48, 64.




 1
    Defendant’s apparent claim that he could not have discerned the information
given in the course was confidential because the Confidentiality Agreement did not
provide an itemized list of content labeled “trade secrets” (Dkt. 13-1, pp. 20-21)
strains credulity; but regardless, it is an issue for fact discovery including via
Defendant’s deposition, rather than his counsel’s unsupported argument.

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      f.     “[Defendant] was aware that the information offered at Keenan’s Kids

Voir Dire Course was trade secret and confidential, including through his execution

of a Confidentiality Agreement with [Plaintiff] as a participant, [and] for at least the

representative reasons identified in [Amended Complaint] paragraphs 50-66, 68, and

70-74 above and incorporated herein [identifying restrictions on access and use of

the course material].” Id., ¶¶ 96, 117.

      g.     “The confidentiality measures identified in [Amended Complaint ¶¶]

42-48 and 70…resulted in an understanding between [Plaintiff] and [Defendant] that

use of the Trade Secret Voir Dire Techniques would be limited” and that the “Trade

Secret Voir Dire Techniques would be kept confidential.” Dkt. 11, ¶¶ 97, 118.

      The Court is required to accept as true all of these well-pleaded allegations in

the Amended Complaint. In an extensively more detailed fashion than the plaintiff

in Atlanta Fiberglass, Plaintiff then has alleged numerous factual circumstances

surrounding Defendant’s participation as a student in the Keenan’s Kids Voir Dire

Course from which, and as a result of which, Defendant “knew or had reason to

know” that he had a “duty to maintain its secrecy or limit its use.” O.C.G.A. § 10-

1-761(2)(B)(ii)(II). Plaintiff also alleged with particularity that Defendant, in his

subsequent role as an employee of Plaintiff, was placed in a uniquely intimate

position of familiarity with Plaintiff’s Trade Secret Voir Dire Techniques and


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awareness of/participation in confidentiality measures related to the same.2 Dkt. 11,

¶¶ 73-74, 95-96, 116-17. These are not bald allegations that Defendant “understood”

the limitations placed on the trade secret material; they are specifically-pleaded

reasons, which must be accepted as true on this motion, why Defendant would have

reason to understand and which directly resulted in his understanding—a fact which

Defendant will have to testify to under oath in discovery.

      1.     Confidentiality agreements are not required to state a claim for
             trade secret misappropriation.

      Disregarding the longer list of facts that support his awareness of

confidentiality and limitations on use, the lynchpin of Defendant’s faulty argument

in favor of dismissal is that the written Confidentiality Agreement he signed as a

student of the Keenan’s Kids Voir Dire Course is unenforceable.3 However, even if


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    Defendant argues that his awareness of confidentiality as an instructor is
irrelevant if he first “acquired” the Trade Secret Voir Dire Techniques as a student;
however, that is a dispute of fact and law between the parties, since Defendant
became an instructor within just a few months of his attendance of the Keenan’s
Kids Voir Dire Course in September 2014. See Dkt. 11, ¶ 17 (indicating that
Defendant was teaching for Plaintiff by no later than March 2015). Defendant cites
no authority that his understanding of confidentiality cannot be informed by the
parties’ entire relationship, including events following their first exchange. And,
Defendant’s argument assumes that he learned and retained with one hundred
percent accuracy every detail of the Trade Secret Voir Dire Techniques as a student
of the Keenan’s Kids Voir Dire Course, rather than perfecting and gaining a more
complete understanding of the secrets as an instructor. Plaintiff disputes the former
and asserts the latter – an issue which must be explored in discovery.
  3
    The validity of the parties’ agreement is itself inappropriate for resolution on a

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there were no agreement between the parties here, confidentiality agreements are not

required in order to state or prove a claim for trade secret misappropriation. Indeed,

the defendant in Atlanta Fiberglass argued to no avail that the trade secret claim

should be dismissed because there was no confidentiality agreement. KPI, Co. Ltd.’s

Br. in Support of its Mot. to Dismiss, pp. 2, 4, 29, Dkt. 15, Atlanta Fiberglass USA,

No. 1:11-CV-04367-RWS (arguing that plaintiff did not even allege an agreement

between the parties or any other restriction in the complaint). The Court in Atlanta

Fiberglass held that “[c]ontrary to KPI’s argument, nothing more is required under

Twombly or Iqbal to state a plausible claim” than what the plaintiff alleged. Atlanta

Fiberglass, 911 F. Supp. 2d at 1259.

      The denial of the plaintiff’s motion to dismiss in Atlanta Fiberglass is

consistent with law in this Circuit that a confidentiality-related contract between the

parties is not required to sustain a trade secret claim. The Eleventh Circuit, for

example, has reversed summary judgment in favor of the defendant on a trade secret

claim where the plaintiff’s assertion of confidentiality was based on “the apparently

mutual understanding that [the trade secret information] would be kept confidential,”

but without a non-disclosure agreement or confidential relationship between the

parties. Camp Creek, 139 F.3d at 1411; see also Burroughs Payment Sys. v. Symco


motion to dismiss. See infra pp. 13-17.

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Group, No. 1:10-cv-03029-JEC, 2011 U.S. Dist. LEXIS 170619, at *20-21 (N.D.

Ga. Dec. 13, 2011) (denying motion to dismiss, finding plaintiff’s allegations

regarding password protection and notices as to use limitations for its trade secret

information sufficient to plead defendant knew the information was acquired under

circumstances giving rise to a duty to maintain secrecy or limit use).

       Georgia Courts also do not require confidentiality agreements to sustain trade

secret claims. See Stone v. Williams Gen. Corp., 597 S.E.2d 456, 459, 266 Ga. App.

608, 611 (2004) (rejecting that plaintiff must have written policy on trade secrets,

finding plaintiff set forth examples of steps, other than a restrictive covenant that

was not at issue, it had taken steps to maintain the confidentiality of its trade secrets);

Equifax Svcs v. Examination Mgmt. Svs., 216 Ga. App. 35, 453 S.E.2d 488 (1994)

(finding an action for misappropriation of trade secrets is not dependent on existence

of a written contract). And, the GTSA itself expressly provides in O.C.G.A. § 10-

1-762(d) that “[i]n no event shall a contract be required in order to maintain an action

or to obtain injunctive relief for misappropriation of a trade secret.”

       2.     Confidentiality agreements relating to trade secrets may be
              implicit.

       Defendant also appears to assert that his motion to dismiss is warranted

because, as a matter of law, confidentiality may not be implicit in a trade secret case,

citing Northstar Healthcare Consulting, LLC v. Magellan Health, Inc., 1:17-CV-

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1071-ODE, 2019 WL 4805558, *41-43 (N.D. Ga. July 10, 2019) (citing Yellowfin

Yachts, Inc. v. Barker Boatworks, LLC, 898 F.3d 1279, 1300 (11th Cir. 2018)).

Defendant is incorrect.      Notably, both Northstar and Yellowfin are summary

judgment cases, and neither stands for the principle that confidentiality supporting a

trade secret claim can never be implicit. See Northstar, 2019 WL 4805558 at *41-

43 (discussing that Yellowfin recognized other factors such as restricted access and

password protection to be “key”); Yellowfin, 898 F.3d. at 1300 (explaining in its

summary judgment analysis that, while plaintiff took positive steps that could have

protected its information, other factors ultimately defeated those efforts).

      At worst, the Eleventh Circuit has stated that it is simply “wary of any trade

secret claim predicated on the existence of an ‘implied’ confidential relationship,”

while simultaneously recognizing that such relationships may well be sufficient to

prove a trade secret claim. Bateman v. Mnemonics, Inc., 79 F.3d 1532, 1550 (11th

Cir. 1996) (emphasis added). In Bateman, the Court distinguished the case before

it, which warranted a directed verdict in the plaintiff’s favor, from cases involving

implied confidentiality where—as pleaded here by Plaintiff—the circumstances

indicated an expectation of confidentiality. Id. at 1550 (finding after trial insufficient

evidence to support trade secret claim). The Court in Bateman clarified, directly

contrary to Plaintiff’s argument, that “it is not the lack of a written confidentiality


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agreement that is fatal to the trade secret claim; rather, it is the lack of any substantial

evidence that [defendant] was ever made aware of any obligation of confidentiality

to [plaintiff] regarding the [trade secret] engineering materials at issue.” Id. Here,

Plaintiff’s allegations are full of factual circumstances that would have alerted

Defendant to confidentiality. See supra pp. 5-7.

       “[E]ven as between an employer and employee,” as Defendant raises in his

motion (Dkt. 13-1, p. 19), implicit agreements are permissible bases for trade secret

claims. See Cheaptruckparts.com, LLC v. Godfather Vans, Inc., No. 1:08-cv-3602-

TCB, 2010 U.S. Dist. LEXIS 150960, at *10-11 (N.D. Ga. Aug. 10, 2010) (denying

summary judgment, finding “[i]t is true that Christman did not enter into a

confidentiality agreement with CTP during the course of his employment. However,

this does not bar CTP from arguing that Christman still owed it a duty of

confidentiality” (citing cases)); Thomas v. Best Mfg. Corp., 234 Ga. 787, 789 (1975)

(“Even without an express restrictive covenant, one of the implied terms of a contract

of employment is that the employee will not disclose a trade secret learned during

his employment, to a competitor of his former employer. It is not relevant whether

or not a valid express written contract or restrictive covenant was entered into.”)

(citation omitted). Plaintiff’s allegations regarding Defendant’s employment, with

or without an agreement, thus stand to support Plaintiff’s trade secret claims as well.


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      3.     Interpreting the parties’ Confidentiality Agreement is improper at
             the motion to dismiss stage.

      Regardless of the existence or validity of the parties’ Confidentiality

Agreement, Plaintiff’s allegations in the Amended Complaint are well-pleaded

pursuant to the notice pleading standard which this Court must accept as true on this

motion. The merits of Plaintiff’s allegations are an issue for summary judgment or

trial, not a motion to dismiss. But, even if the parties’ Confidentiality Agreement

were somehow necessary to plead Plaintiff’s claims, Defendant has failed to point

to any authority suggesting that the Court should rule on the existence or scope of

an agreement—express or implied—or the applicability of an alleged statute of

frauds defense at the motion to dismiss stage.4

      In Georgia, “the cardinal rule of contract construction is to ascertain the

intention of the parties.” City of Albany v. Dougherty Cty., 352 Ga. App. 664, 668,

835 S.E.2d 681, 685 (2019). However, it is “improper for the district court to

interpret [a] contract when considering [a] motion to dismiss.” BioHealth Med. Lab.,

Inc. v. Cigna Health & Life Ins. Co., 706 Fed. Appx. 521, 524 (11th Cir. 2017). “The



 4
    Defendant cites no authority to support his request that the Court decide no
contract could have existed between the parties given Defendant’s untested
interpretation of the parties’ Confidentiality Agreement. Defendant’s only authority
regarding the statute of frauds is a summary judgment case. Bithoney v. Fulton-
DeKalb Hosp. Auth., 313 Ga. App. 335, 341, 721 S.E.2d 577, 582 (2011).

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nature of the agreement Plaintiffs allege here is that when Plaintiffs agreed to provide

the confidential, proprietary information…[Defendant] agreed not to disclose it…In

any event, the Court is not required, at this stage, to determine the limits of the

alleged agreement between Plaintiffs and [Defendant].” RMS Titanic, Inc. v. Zaller,

978 F. Supp. 2d 1275, 1297 (N.D. Ga. 2013) (even accepting as true when analyzing

the statute of frauds that “[t]he facts do not state or support that Plaintiffs sought a

short-term — less than one year — agreement against disclosure”).

      Defendant’s argument that the Confidentiality Agreement has no bearing on

a duty to maintain confidentiality requires this Court to make interpretations that are

prohibited at this pleading stage and contrary to law.5 For example, “Georgia law

requires [the Court] to give meaning to every term [of a contract] rather than construe

any term as meaningless, and to construe a contract so as to uphold the contract in

whole and in every part[.]” City of Albany, 352 Ga. App. at 668-669, 835 S.E.2d at

685. Yet, Defendant interpretation of the Confidentiality Agreement – that it simply

prohibits videotaping, recording, and photographing without any obligations

regarding confidentiality – would render the agreement’s multiple references to


 5
   Although irrelevant to Defendant’s motion to dismiss, Plaintiff did not “admit[ ]”
that the Confidentiality Agreement does not obligate Defendant to maintain
confidentiality by filing its Amended Complaint without breach of contract claims.
Dkt. 13-1, p. 16. Plaintiff chose to narrow the case to focus on its trade secret claims
which provide all the remedies that Plaintiff seeks.

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“Confidentiality Agreement” and definition of “Confidential Information”

purposeless. Indeed, the parties could have agreed to a ban on recordings and

photographs without purporting to do so under a “Confidentiality Agreement” and

without defining “Confidential Information.”        No confidentiality agreement or

specific understanding regarding the confidentiality of the material not to be

recorded is necessary to impose a blanket recording ban.

      In any event, to the extent the Confidentiality Agreement is ambiguous as to

confidentiality obligations, or even if it lacked them entirely, the agreement does not

have a merger clause and parol evidence may be introduced past the dismissal stage.

Epstein, Becker & Green, P.C. v. Anduro Holdings, LLC, 346 Ga. App. 874, 876,

816 S.E.2d 695, 697 (2018) (where written agreement did not contain a specific term,

but also did not purport to contain all stipulations of the contract, parol evidence

admissible to create issue of fact that a jury must resolve regarding whether parties

intended to agree to the term); McCommons v. Williams, 131 Ga. 313, 318, 62 S.E.

230, 232 (1908) (“It is rudimentary law that parol evidence can not generally be

admitted to contradict or vary the terms of a written contract…But if the writing is

ambiguous, evidence is admissible to explain the ambiguity. Or if the writing does

not purport to contain all the stipulations of the contract, parol evidence is admissible

to prove other portions thereof not inconsistent with the writing.”).


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      Accepting Defendant’s arguments regarding validity of the contract also

would require this Court to accept Defendant’s “interpretation” that the

Confidentiality Agreement’s routine specification that it pertains to information

shared “at this event” is an extensive limitation meaning the agreement has no effect

outside of the four walls of the Keenan’s Kids Voir Dire Course held on September

23-24, 2014. See Dkt. 13-1, p. 17. This is nonsensical at least because the plain

reading of the language is that it simply defines the course contents as the subject

matter of the agreement. Again, to the extent Defendant’s arguments raise issues of

ambiguity in the agreement, ambiguities are not properly resolved on a motion to

dismiss, and the factfinder will be free to consider evidence in determining its scope.

      Finally, as to the statute of frauds, Plaintiff is also entitled to argue beyond the

motion to dismiss stage that the parties’ agreements are excepted from the statute of

frauds, i.e., by partial performance thereof. O.C.G.A. § 13-5-31 (2) (statute of frauds

does not apply where “there has been performance on one side, accepted by the other

in accordance with the contract”).6 Durational limits on confidentiality agreements


 6
     With respect to the confidentiality agreement relating to Defendant’s
participation in the Keenan’s Kids Voir Dire Course as a student, Plaintiff will be
able to argue that it performed by fulfilling Plaintiff’s role as the course-offeror and
allowing Defendant to attend the course. With respect to confidentiality obligations
arising out of Defendant’s employment, Plaintiff will be able to argue that it
performed by fulfilling Plaintiff’s obligations as an employer and fully
compensating Defendant for his work.

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for trade secrets are also contradictory to Georgia law. O.C.G.A. § 13-8-53(e)

(“Nothing in this article shall be construed to limit the period of time for which a

party may agree to maintain information as confidential or as a trade secret…so long

as the information or material remains confidential or a trade secret.”).

B.    The Amended Complaint Contains Well-Pleaded Factual Allegations
      Sufficiently Stating Plaintiff’s Trade Secret Ownership

      As to the second element of Plaintiff’s trade secret claims, tellingly,

Defendant’s motion does not contest—nor could it—whether Plaintiff has

sufficiently pleaded that the Trade Secret Voir Dire Techniques fall within the

statutory definitions of information that may be protectable as a trade secret – i.e.,

“techniques,” “processes,” “methods,” “plans,” etc. See 18 U.S.C. § 1839(3);

O.C.G.A. § 10-1-761(4). Defendant also does not contest whether Plaintiff has

sufficiently identified the scope of its trade secrets under the notice pleading

standard. Instead, Defendant accepts as true for the purposes of his motion to

dismiss that the disputed Trade Secret Voir Dire Techniques “were suitable for trade-

secret protection” (Dkt. 13-1, p. 21) and “adequately alleged to give Mr. Claggett

notice of which seminar content cannot be disclosed,” (id.) and focuses on other

purported defects. Namely, Defendant asserts that the Trade Secret Voir Dire

Techniques are public, readily ascertainable, and are not subject to reasonable efforts

to maintain their secrecy. Id., pp. 21-22. None of these assertions is true but, more

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importantly, none of these assertions is appropriate to resolve or capable of being

resolved on Defendant’s motion to dismiss. Atlanta Fiberglass, 911 F. Supp. 2d at

1259, n.8. Defendant’s extensive reliance on summary judgment case law is

illustrative of that fact.

       1.     The Trade Secret Voir Dire Techniques are not publicly available.

       First, Defendant contends that the Trade Secret Voir Dire Techniques are

publicly available online, citing a handful of webpages of which Defendant asks the

Court to take judicial notice. Dkt. 13-1, p. 21 and n.9. However, Defendant’s

request for judicial notice is improper at least because (i) certain of the webpages are

password protected such that neither the Court nor the “public” have access to them,

(ii) certain of the webpages do not originate from the parties and are not

unquestionably reliable or authenticated, and (iii) whether the cited webpages

contain the Trade Secret Voir Dire Techniques is highly disputed including through

Plaintiff’s well-pleaded allegations to the contrary in its Amended Complaint.

Defendant’s request for judicial notice should be denied.

       The Eleventh Circuit has provided examples of “the kind of things about

which courts ordinarily take judicial notice” such as “(1) scientific facts: for

instance, when does the sun rise or set; (2) matters of geography: for instance, what

are the boundaries of a state; or (3) matters of political history: for instance, who was



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president in 1958.” Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir. 1997). But,

Eleventh Circuit law is clear that the Court “may not take judicial notice of facts if

the facts in question are subject to reasonable dispute.” Crespo v. Coldwell Banker

Mortg., 599 Fed. Appx. 868, 872 (11th Cir. 2014) (citing Shahar, 120 F.3d at 214);

see also Fed. R. Evid. 201(b) (allowing judicial notice of facts that are not subject to

reasonable dispute because they are capable of accurate and ready determination by

resort to sources whose accuracy cannot reasonably be questioned).

      Defendant’s request for judicial notice of the contents of the identified

websites is contrary to the foregoing authority. First, password-protected blog

articles and third-party articles and argumentative writings are fundamentally

different than scientific and historic facts of which courts ordinarily take judicial

notice. Upon navigating to the cited links to the Keenan Trial Blog, the webpages

do not display any substantive content and instead are password protected so as to

not compromise the secrecy of the Trade Secret Voir Dire Techniques,7 stating that

the user “need[s] to be logged in to see this part of the content.” The Court cannot

take judicial notice of this non-public content in order to rule on Defendant’s motion

to dismiss. See, e.g., Young v. Napolitano, No. 1:10-CV-1584-CAP-GGB, 2011



 7
   Plaintiff pleaded this fact with particularity in the Amended Complaint. See Dkt.
11, ¶¶ 48, 62-63.

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U.S. Dist. LEXIS 71482, at *9-10 (N.D. Ga. June 24, 2011) (citing cases, explaining

courts can take judicial notice of public records). To the extent the remaining links

are to third-party content present on non-government or other non-official sites,

including some apparently “cached” content, the accuracy of these sources is

questionable and not readily determined, and significant authentication is required

that Defendant has not even attempted to proffer. See, e.g., In re LTL Shipping Servs.

Antitrust Litig., No. 1:08-MD-01895-WSD, 2009 U.S. Dist. LEXIS 14276, at *34

(N.D. Ga. Jan. 28, 2009) (declining to take judicial notice of websites where the sites

were not “an unquestionable source to establish authenticity sufficient for [the]

Court to take judicial notice” over objections).

      Even if the Court took judicial notice of the “fact that an internet article is

available to the public” as Defendant references,8 the critical dispute – whether the

webpages actually contain the Trade Secret Voir Dire Techniques – remains a fact

to be litigated. Shahar, 120 F.3d at 214. Plaintiff pleaded with particularity that

“[t]he Trade Secret Voir Dire Techniques also are not publicly available on the

Internet, in court filings, or other such sources” (Dkt. 11, ¶ 37), and that the “Trade


 8
    Defendant cites to out-of-jurisdiction Spy Optic, Inc. v. Alibaba.com, Inc., 163 F.
Supp. 3d 755, 762-63 (C.D. Cal. 2015) as “taking judicial notice of internet
materials,” and that the holding was “limited to notice of ‘the fact that an internet
article is available to public[.]’” Dkt. 13-1, n.9. As the court observed, however, it
could not take judicial notice of whether the contents of those materials were true.

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Secret Voir Dire Techniques are not generally known to the public… [and] are not

available to the public on the Internet” (id., ¶¶ 91, 111). To the extent Defendant

disagrees, the dispute is improperly resolved on a motion to dismiss. Crespo, 599

Fed. Appx. at 872. The Court may not “take judicial notice of the truth of [a

document’s] contents or one party’s opinion of how a matter of public record should

be interpreted.” Cervantes v. Invesco Holding Co. Us, No. 1:18-cv-02551-AT, 2019

U.S. Dist. LEXIS 177577, at *30 (N.D. Ga. Sept. 25, 2019) (citations omitted).

      To find that Defendant’s cited websites actually contain the Trade Secret Voir

Dire Techniques would be to improperly accept Defendant’s opinion of how those

websites’ contents should be interpreted and deny Plaintiff the opportunity to rebut

Defendant’s conclusions in discovery as Plaintiff intends to do. Id.; see also In re

LTL Shipping Servs. Antitrust Litig., 2009 U.S. Dist. LEXIS 14276 at *34 (declining

to take judicial notice of websites where opposing party would not be able to

factually rebut the contents absent discovery). An analysis comparing the websites’

contents to Plaintiff’s trade secrets is, in fact, impossible at this stage because the

nuanced details of Plaintiff’s Trade Secret Voir Dire Techniques are not yet before

the Court, nor are they required to be to state a claim. Earthcam, Inc. v. Oxblue

Corp., No. 1:11-CV-02278-WSD, 2012 U.S. Dist. LEXIS 191822, at *26 (N.D. Ga.

Mar. 26, 2012) (plaintiffs are “not required to disclose trade secrets in detail when


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pleading a claim for trade secrets misappropriation” as “such a requirement would

result in public disclosure of the purported trade secrets.” (quotation omitted)).

      2.     The Trade Secret Voir Dire Techniques are not readily
             ascertainable and Plaintiff took reasonable steps to maintain their
             secrecy.

      “Whether [Plaintiff’s] efforts to keep the information secret in this case were

‘reasonable under the circumstances’ presents a question for the trier of fact.” Camp

Creek, 139 F.3d at 1411; Lear Siegler, Inc. v. Ark-Ell Springs, Inc., 569 F.2d 286,

289 (5th Cir. 1978) (“The question of whether an item taken from an employer

constitutes a ‘trade secret,’ is of the type normally resolved by a fact finder after full

presentation of evidence from each side.”).9         Whether Plaintiff failed to take

reasonable steps to protect its trade secrets is, like all Defendant’s arguments,

“premature.” Atlanta Fiberglass, 911 F. Supp. 2d at 1259, n.8 (specifically rejecting

argument regarding reasonableness of efforts to protect confidentiality at motion to

dismiss stage). “At the motion to dismiss stage of the litigation…[Plaintiff] need

only allege that it possessed trade secrets, which it has done.” Id.

      Plaintiff has gone beyond simply pleading that it has a trade secret that it

reasonably protected and has specifically identified numerous steps taken toward


 9
   In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc),
the Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
Circuit handed down prior to October 1, 1981.

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protecting secrecy; steps which have been accepted by courts as appropriate for

maintaining trade secret information. See supra pp. 5-7; Burroughs, 2011 U.S. Dist.

LEXIS 170619 at *17-18 (finding password protection and warnings regarding

confidentiality adequate to plead reasonable efforts to maintain secrecy); G.W.

Henssler & Assocs., Ltd. v. Marietta Wealth Mgmt., LLC, No. 1:17-cv-2188-TCB,

2017 U.S. Dist. LEXIS 220400, at *10 (N.D. Ga. Oct. 23, 2017) (password

protection, access restrictions, and “agreements with confidentiality requirements”

indicate reasonable efforts); Amedisys Holding, LLC v. Interim Healthcare of Atl.,

Inc., 793 F. Supp. 2d 1302, 1311 (N.D. Ga. 2011) (holding that restricting access to

confidential documents and password protection demonstrated reasonable efforts to

maintain confidentiality). Defendant’s argument that these efforts were, even taken

together, insufficient and unreasonable seeks a summary judgment ruling, not a

ruling on whether Plaintiff met the pleading standard.

      To the extent Defendant claims there is no “trade secret” because the

information was “necessarily revealed” to course attendees and therefore “readily

ascertainable,” again, resolution on a motion to dismiss is improper.       Atlanta

Fiberglass, 911 F. Supp. 2d at 1259, n.8 (“Additionally, [Defendant] argues that

information learned by [Defendant] during the scope of its engagement is not a trade

secret…Again, however, at this stage in the proceeding, [Plaintiff] need only allege


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that it possessed trade secrets, which were misappropriated by [Defendant], to state

a plausible claim.”). This argument depends on applying a summary judgment

standard to prematurely interpret the Confidentiality Agreement and weigh the

sufficiency of Plaintiff’s other confidentiality measures, as indicated by Defendant’s

cited summary judgment and JNOV cases, which also do not stand for a blanket rule

that trade secrets may not be taught to customers like Defendant suggests. 10

      Defendant also contends that the Trade Secret Voir Dire Techniques were

“readily ascertainable” because they are intended for use in jury trials from which

anyone could acquire transcripts to see the voir dire questions asked and thereby

ascertain Plaintiff’s strategies. Dkt. 13-1, p. 23-24. Plaintiff’s Amended Complaint

thoroughly alleges that the Trade Secret Voir Dire Techniques are not ascertainable

by persons viewing them in practice because the secrets are strategies—i.e., how to



 10
    Diamond Power Int’l, Inc. v. Davidson, 540 F. Supp. 2d 1322, 1332-33 (N.D.
Ga. 2007) (summary judgment case also recognizing confidentiality obligation may
arise by “express or implicit agreement or by another duty”); Roboserve, Ltd. v.
Tom’s Foods, Inc., 940 F.2d 1441, 1454 (11th Cir. 1991) (JNOV case where, unlike
here, customers allowed to resell an allegedly trade secret machine to third parties
who could reverse engineer it); Warehouse Sols., Inc. v. Integrated Logistics, LLC,
610 Fed. App’x 881, 885 (11th Cir. 2015) (summary judgment case weighing
significance of confidentiality measures against other factors, acknowledging
absence of written agreement not dispositive); AmeriGas Propane, L.P. v. T-Bo
Propane, Inc., 972 F. Supp. 685, 701 (S.D. Ga. 1997) (summary judgment case
finding non-disclosure agreement invalid after weighing “reasonableness,” where,
unlike here, written agreement was the only purported confidentiality measure).

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question, analyze responses, and implement what is learned to select a favorable

jury—not a list of questions that can be read from a transcript. Dkt. 11, ¶ 36.

      Defendant contends that these allegations are “rebutted by information subject

to judicial notice,” citing a link that leads to a third-party legal brief. For all of the

reasons stated above, however, judicial notice of such a document is improper. Most

critically, Plaintiff disputes that the document reveals its Trade Secret Voir Dire

Techniques – an issue that will be borne out in discovery. To accept that the cited

document includes the Trade Secret Voir Dire Techniques would be to improperly

accept Defendant’s argumentative interpretation of the document over Plaintiff’s

well-pleaded allegations in the Amended Complaint. It would also improperly

construe the pleading in the light most favorable to the movant Defendant, not the

nonmovant Plaintiff, which this Court cannot do.

IV.   CONCLUSION

      For all of these reasons, it cannot be found at the pleading stage that no set of

facts support Plaintiff’s claims for trade secret misappropriation. As a result,

Defendant’s Motion to Dismiss should be denied.




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         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that the foregoing document contains the required margins and

was prepared in Times New Roman font, 14-point type, one of the font and point

selections approved by the Court in the N.D. Ga. L.R. 5.1(C).

      This 7th day of July 2020.

                                           /s/ John M. Bowler
                                           John M. Bowler




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  KEENAN’S KIDS FOUNDATION,                      )
  INC.,                                          )
                                                 )
                  Plaintiff,                     ) Civil Action File No.:
                                                 )
  -vs.-                                          ) 1:20-cv-01702-WMR
                                                 )
  SEAN CLAGGETT,                                 )
                                                 )
                   Defendant.                    )

                               CERTIFICATE OF SERVICE

            I have this day served the foregoing Plaintiff’s Response in Opposition

 to Defendant’s Motion to Dismiss [Dkt. 13] upon all parties by CM/ECF filing

 on counsel of record as follows:

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        This 7th day of July 2020.

                                          /s/ John M. Bowler
                                          John M. Bowler


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